
PER CURIAM.
The judgment and sentence in this case are affirmed except for the assessment of a public defender’s lien against the defendant. The record does not show that the defendant was advised of his right to a hearing to contest the amount of the lien as required by the Florida Rules of Criminal Procedures 3.720(d)(1). See also Smith v. State, 622 So.2d 638 (Fla. 5th DCA 1993). Therefore, the public defender’s lien of $750.00 is stricken, without prejudice to the reimposition of the lien upon remand after compliance with Florida Rules of Criminal Procedures 3.720(d)(1).
JUDGMENT and SENTENCE AFFIRMED; REVERSED and REMANDED with directions.
HARRIS, C.J., and COBB and THOMPSON, JJ., concur.
